        Case 1:19-cr-10063-DJC Document 230 Filed 12/20/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )        Criminal No. 19-cr-I0063-DJC
                                               )
RANDALL CRATER,                                )
                                               )
                       Defendant               )

                        AFFIDA VIT OF KATHLEEN            M. BREKENFELD

       I, Kathleen M. Brekenfeld,    do hereby certify that the following is true and accurate to the

best of my knowledge and belief:

       1. I am a forensic accountant      with the Federal Bureau of Investigation         ("FBI"). I am a

            Certified Public Accountant    and a Certified Fraud Examiner. Prior to working at the

            FBI, I worked at the accounting     firm of Ernst & Young, and I graduated           from the

            College of the Holy Cross with a degree in economics and accounting.

       2.   r testified in the trial of United States v. Randall Crater, Case No. 19-cr-l0063-DJC.
            As part of that testimony,    I prepared a summary      chart, labeled Exhibit 44, which

            identified several bank accounts that were controlled by Mr. Crater and that received

            My Big Coin funds (the "Three 'My Big Coin' Accounts").               I was able to identify

            payments   into those accounts for My Big Coin investments           and/or digital currency

            based on a review of the bank records in conjunction     with the stipulations entered into

            by the parties, witness testimony, and Mr. Crater's emails that were labeled as exhibits

            at trial. The summary    chart, on pages 3-4, identified       $6,313,927.15     of incoming

            payments for My Big Coin.

       3. After the verdict was returned, I expanded my review in order to identify additional My

            Big Coin financial information    for sentencing.   Specifically,   I sought to identify: (1)
 Case 1:19-cr-10063-DJC Document 230 Filed 12/20/22 Page 2 of 3




     any additional payments into the accounts controlled by Mr. Crater for My Big Coin

     investments   and/or digital currency, and (2) any outgoing payments back to My Big

     Coin investors or customers. I was able to identify multiple transfers related to My Big

     Coin. These transfers     were identified     through     a review   of the bank records    in

     conjunction with additional emails from Mr. Crater's email account, witness interviews

     conducted by the FBI and u.s. Postal Service, and Victim Impact Statements submitted

     to the U.S. Attorney's   Office.

4.   A summary chart of my findings is attached hereto as Exhibit A ("Summary              of My

     Big Coin Transfers"). The summary chart contains the names of individuals I was able

     to identify as transferring   money to My Big Coin, the amount they transferred,           any

     amount that was subsequently       transferred back to those individuals, and the net amount

     for each person (i.e., the amount paid into My Big Coin minus any amount that same

     person later received from My Big Coin).

5. Exhibit A identifies a total of 56 individuals            with a combined   net loss amount of

     $7,678,317.50.

6. There were a small number of additional transfers to My Big Coin that I did not include

     in my calculation because I was unable to confirm the identity of the person or entity

     that transferred the money and/or that the transfer was associated with My Big Coin.

     Those transfers to My Big Coin are not included in Exhibit A.




                                                  Forensic Accountant
                                                  Federal Bureau of Investigation
        Case 1:19-cr-10063-DJC Document 230 Filed 12/20/22 Page 3 of 3




                                 CERTIFICATE      OF SERVICE

         I hereby certify that this document was filed through the ECF system and will be sent
electronically to the registered participants identified on the Notice of Electronic Filing (NEF).


Dated: December 20,2022                             By:     lsi Christopher J Markham
                                                            CHRISTOPHER 1. MARKHAM
                                                            Assistant United States Attorney
